                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

JILL MARIE FITCHEARD,          )
      Plaintiff,               )
                               )
v.                             )                       Civil Action No. 3:22-cv-00638
                               )                       Judge Trauger / Frensley
METROPOLITAN GOVERNMENT OF )                           Jury Demand
NASHVILLE AND DAVIDSON COUNTY, )
    Defendant.                 )

                                               ORDER

       Pending before the Court is a motion filed by the pro se Plaintiff to obtain counsel. Docket

No. 11. Specifically, the Plaintiff requests a forty-five (45) day extension to obtain counsel in this

matter. There is a pending motion to dismiss filed by the Defendant in this matter on August 22,

2022. Docket No. 7. Pursuant to Local Rule 7.01(a)(3) Plaintiff’s response to the motion to dismiss

in due by September 6, 2022. While the Plaintiff’s motion does not reference the motion to dismiss

or response thereto the Court will interpret the motion for extension of time as relating to Plaintiff’s

response to the motion to dismiss.

       The Plaintiff’s motion for an extension of time to obtain counsel (Docket No. 11) is

GRANTED. The Plaintiff shall have until October 17, 2022, within which to respond to the

Defendant’s motion to dismiss. Plaintiff’s response to the motion will be due regardless of whether

she obtains counsel or not. Plaintiff is forewarned that failure to respond to the motion to dismiss

may result in a recommendation that this matter be dismissed for failure to prosecute or for the

reasons set forth in the motion.

       IT IS SO ORDERED.


                                               JEFFERY S. FRENSLEY
                                               United States Magistrate Judge




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